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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
 _________________________________________________

 JOHN WALKER, JR.,

                        Plaintiff,

 -against-                                                            DECLARATION IN
                                                                      SUPPORT OF POST-
 THE CITY OF BUFFALO; THE COUNTY OF ERIE;                             TRIAL MOTIONS
 MICHAEL G. GUADAGNO; JOHN MONTONDO;
 LINDA J. FIAL AS EXECUTOR FOR THE ESTATE OF
 ROBERT GRABOWSKI; AND MARTIN BULLOCK AS
 EXECUTOR FOR THE ESTATE OF JAMES E. HUNTER,                          Civil Action No.:
 JENNIFER G. FLANNERY AS ADMINISTRATOR FOR                            1:22-cv-520
 THE ESTATE OF ROBERT F. ARNET, JENNIFER G.
 FLANNERY AS ADMINISTRATOR FOR THE ESTATE
 OF FRANK C. DEUBELL, JENNIFER FLANNERY AS
 ADMINISTRATOR FOR THE ESTATE OF LEO J.
 DONOVAN, JENNIFER G. FLANNERY AS
 ADMINISTRATOR FOR THE ESTATE OF FRANCIS M.
 MANISTA, JR., AND DAWN M. DIRIENZO AS
 EXECUTOR FOR THE ESTATE OF PAUL R. DELANO

                        Defendants.



       Kirstie A. Means, Esq., under penalty of perjury, hereby declares the following:

       1.      I am an attorney at law duly licensed to practice in the State of New York and before

this Court. I am a partner with the law firm, Lippes Mathias LLP, attorneys for Defendant County

of Erie (the “County”) in this matter, and as such, I am fully familiar with the facts concerning the

above-captioned action.

       2.      I make this declaration in support of the County’s post-trial motion pursuant to

Federal Rules of Civil Procedure 59(a) for post-trial relief, submitted in the alternative to the

County’s simultaneously filed motion pursuant to Federal Rule of Civil Procedure 50(b), for an




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Order granting: (i) a new trial or a conditional order of remittitur of the jury’s award pursuant to

Rule 59(a); (ii) together with any such other and further relief the Court deems just and proper.

                           RELEVANT BACKGROUND AND HISTORY

       3.      Plaintiff John Walker, Jr. (“Plaintiff” or “Walker”) commenced this lawsuit against

various entities and individuals, alleging his constitutional rights were violated and seeking

monetary damages.

       4.      He filed an amended complaint on March 13, 2023, which asserted eight (8) causes

of action against the City Defendants1 and two (2)2 against the County. (See generally Dkt. 78).

       5.       In the months leading up to trial, in or around November 2024, Plaintiff settled his

claims against the City Defendants,3 leaving a sole cause of action against the County for trial: a

claim pursuant to 42 U.S.C. § 1983 and Monell municipal liability for the alleged misconduct of

prosecutors. (See Dkt. 78 at ¶¶466-694).

       6.      By Pretrial Order dated January 16, 2025 the Court set various deadlines (Dkt. 214)

(the “Pretrial Order”).4




1
  The City Defendants make up the balance of the above-captioned defendants, with the
exception of the County.
2
  Plaintiff advanced claims under 42 U.S.C. § 1983 and Monell municipal liability against the
County for alleged the misconduct of prosecutors (Count VII) and for an alleged negligent failure
to properly hire, train, supervise and discipline (Count X). The latter claim was dismissed on
summary judgment. (Dkt. 200).
3
  Following Plaintiff’s settlement with the City Defendants, the County moved, inter alia, for leave
to amend its answer to assert, among other things, an affirmative defense to seek apportionment
and/or a setoff in the event a verdict was reached against the County at trial. (Dkt. 202, et. seq.).
That motion was granted in part (Dkt. 217), and the County subsequently amended its answer.
(Dkt. 219).
4
  Although discovery and pretrial proceedings were consolidated with a related matter, Darryl
Boyd v. County of Erie et al., 1:22-cv-519, over the County’s objections (see, e.g., Dkt. 324 at 14;
Dkt. 237 at 22; see also Ex. F), and the Court’s proposal, Plaintiff objected to a consolidated trial,
primarily expressing concerns of confusion. See e.g., Email chains exchanged between counsel
and the Court in October and November 2024, collectively attached as Exhibit “F.” Plaintiff’s
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       7.      On February 10, 2025, consistent with the Pretrial Order, the parties filed various

motions in limine (see generally Dkt. 221, 222, 223, 226, 227, 228, 229, 230 and 232), which

filings are expressly incorporated in the accompanying memorandum of law where relevant.

       8.      On February 14, 2025, the parties filed their respective proposed jury instructions

(Dkt. 241, 243) and on February 24, 2025, filed their respective objections. (Dkt. 275, 276).

       9.      On March 3, 2025, the parties appeared for the final pretrial conference, wherein,

among other things, motions in limine were argued and trial scheduling matters were discussed.

(See Dkt. 288, 324).

       10.     During the final pretrial conference, the Court permitted further briefing on certain

issues, including relative to Plaintiff’s purported Monell evidence and his alleged Russo claim,

resulting in supplemental filings by both parties. (See Dkt. 289, 291, 294, 296).

       11.     On March 12, 2025, Plaintiff filed a “memorandum regarding certain outstanding

evidentiary disputes” (Dkt. 298), which the County responded and generally objected to on March

14, 2025. (See Dkt. 303).

       12.     On March 17, 2025, the parties appeared for a further pretrial conference to discuss

pending motions, evidentiary matters and other pretrial matters (see Dkt. 309), during which time

the Court issued a written decision on the “first set of the parties’ motions in limine.” (See Dkt.

307, 325).

       13.     On the morning of March 19, 2025, the first day of trial, the Court emailed the

parties its written decision concerning an outstanding evidentiary matter relative to the scope of




objection to consolidation is set forth at Plaintiff’s counsel’s emails of October 18, 2024 and
November 26, 2024.
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admissible Monell evidence at trial. A copy of the Court’s March 19, 2025 email, with its

attachment, are collectively attached as Exhibit “A”; see also Dkt. 340-1 (the “Monell Decision”).

       14.     Prior to receipt of the Monell Decision, the County objected to commencing trial in

the absence of a ruling, reminding that Plaintiff’s sole claim in this action is dependent on Monell

liability. (See Dkt. 325 at 82:8-87:16). Acknowledging the County’s concern, the Court adjourned

the start of the trial until that afternoon to afford the parties time to review the Monell Decision

and incorporate the same ahead of openings and proof. (See Dkt. 314; Dkt. 326 at 3:9-22).

       15.     Trial subsequently commenced with opening statements the afternoon of March 19,

2025, continuing through closing statements and final jury instructions delivered on April 7, 2025.

       16.     The official trial transcripts dated March 19, 2025 through April 7, 2025, spanning

pages 1 through 2806, were electronically filed at the following docket entries:

 Dkt. Nos.        Pages           Date                 Dkt. Nos.       Pages            Date

    326           1-149          3/19/25                  348        1377-1498      3/28/25 (PM)

    327         150-277       3/20/25 (AM)                377        1499-1599      3/31/25 (AM)

    316         278-413       3/20/25 (PM)                349        1600-1631      3/31/25 (PM)

    328         414-531       3/21/25 (AM)                378        1632-1741      4/1/25 (AM)

    320         532-667       3/21/25 (PM)                350        1742-1857      4/1/25 (PM)

    329         668-784       3/24/25 (AM)                379        1858-1977      4/2/25 (AM)

    321         785-820       3/24/25 (PM)                360        1978-2115      4/2/25 (PM)

    330         821-1050         3/25/25                  380        2116-2225      4/3/25 (AM)

    332        1051-1166         3/26/25                  361        2226-2369      4/3/25 (PM)

    375        1167-1260         3/27/25                  381        2370-2464      4/4/25 (AM)

    376        1261-1376      3/28/25 (AM)                362        2465-2583      4/4/25 (PM)


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 Dkt. Nos.        Pages            Date                 Dkt. Nos.        Pages            Date

    382         2584-2680      4/7/25 (AM)                  363       2681-2806       4/7/25 (PM)



       17.      Throughout trial, the parties briefed various legal and evidentiary matters, including

those outlined below, which are incorporated and addressed where relevant in the accompanying

memorandum of law:

             a. Boyd and Gibson Trial Transcript

                    i. County’s Memorandum Concerning Reactions to the Transcripts of
                       the Boyd and Gibson 1977 Criminal Trials (Dkt. 340-2);

                   ii. Plaintiff’s Memorandum Regarding the Inadmissibility of Certain
                       Portions of the Gibson and Boyd Trial Transcripts (Dkt. 335);

                   iii. County’s Supplemental Submission Concerning Redactions within
                        the Gibson Transcript, with Appendix A (Dkt. 340-5, 6);

                   iv. County’s Supplemental Submission Regarding Portions of the Trial
                       Transcript of People v. Darryn Gibson Offered for Purpose of
                       Notice, with Appendix A (Dkt. 240-8, 9).

             b. Monell Evidence

                    i. Plaintiff’s Memorandum Regarding Admissibility of Certain Monell
                       Evidence (Dkt. 333);

                   ii. County’s Memorandum in Opposition to Plaintiff’s Memorandum
                       Concerning the Ancient Document Hearsay Exception and
                       Admissibility of Monell Evidence (Dkt. 340-3);

                   iii. March 25-26 Email Exchange Concerning the Introduction of
                        Purported Monell Evidence Relative to Albert Ranni (Dkt. 340-7).

             c. Brady Evidence and Argument

                    i. Plaintiff’s Memorandum Regarding Defendant’s Improper Defense
                       to Nondisclosure (Dkt. 334);

                   ii. County’s Opposition to Plaintiff’s Memorandum Regarding
                       Defendant’s Improper Defense to Nondisclosure (Dkt. 340-4).



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            d. Admission into Evidence

                   i. County’s Motion to Move Exhibits into Evidence (Dkt. 345);

                   ii. Plaintiff’s Response/Opposition to the County’s Motion to Move
                       Exhibits into Evidence (Dkt. 351);

                  iii. County’s Motion to Move Certain Documents into Evidence and for
                       Other Relief (Dkt. 354).

            e. Summation

                   i. County’s Motion to Limit or Preclude Certain References on
                      Summation (Dkt. 353).

      18.      At the close of Plaintiff’s proof, the County moved for judgment as a matter of law

pursuant to Rule 50(a). (Dkt. 342). The Court granted the motion in part, dismissing Plaintiff’s

alleged Russo claim, and denied the remainder of the motion. (See Ex. E at 2126:14-19).

      19.      The parties provided proposed verdict sheets to the Court via email at the Court’s

request. Copies of the corresponding emails with their attachments are collectively attached as

Exhibit “B.”

      20.      On April 6, 2025, Plaintiff filed a submission proposing supplemental jury

instructions (Dkt. 356), and the County filed its objections to those that same day (Dkt. 357).

      21.      Later that evening, at 6:21 p.m., the Court supplied its proposed Final Jury

Instructions and Special Verdict Sheet via email to all counsel. A copy of the Court’s email with

its attachments is attached as Exhibit “C”.

      22.      In the early morning hours of April 7, 2025, the County supplied the Court and

counsel with redlined objections and requested edits to the Court’s Final Jury Instructions, and

objections and requested edits to the Special Verdict Sheet via email. A copy of the County’s email,

with attachments, is attached as Exhibit “D”. The County also filed its objections to the Final

Jury Instructions at Dkt. 359.


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      23.        The parties exchanged additional emails with the Court that morning relative to the

County’s apportionment defense, and the corresponding jury instructions and verdict sheet

questions. Copies of those emails are collectively attached as Exhibit “E.”

      24.        The charge conference went forward that same morning, beginning at

approximately 9:00 a.m. (see Dkt. 382 at 2587-2633), and closing arguments went forward

immediately thereafter. (See id. at 2634-2747).

      25.        The Court delivered its final jury instructions that afternoon, and the County

reiterated its exceptions to the charges as set forth in Docket 359 and relative to the issue of its

apportionment defense. (See Dkt. 363 at 2750-2792).

          26.    The jury began its deliberations at approximately 3:47 p.m. on April 7, 2025 (see

Dkt. 363 at 2793:10-15) and returned a verdict on April 8, 2025 in Plaintiff’s favor, awarding the

sum of $28,000,000 in compensatory damages against the County. (See Dkt. 366). It apportioned

no fault to the City Defendants. (See id.).

                                         RELIEF SOUGHT

          For the reasons set forth in the accompanying memorandum of law, the County respectfully

seeks an Order granting: (i) a new trial or a conditional order of remittitur of the jury’s award

pursuant to Rule 59(a); (ii) together with any such other and further relief the Court deems just and

proper.

Dated: May 20, 2025
       Buffalo, New York
                                                      LIPPES MATHIAS LLP

                                                      By: s/Kirstie A. Means
                                                         Kirstie A. Means




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